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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                            )      Case No. 08-13141(KJC)
                                  )
                                  )
TRIBUNE COMPANY                   )      Chapter 11
                                  )
                                  )      Courtroom 5
                                  )      824 Market Street
           Debtors.               )      Wilmington, Delaware
                                  )
                                  )      June 13, 2011
                                  )      1:30 p.m.

                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE

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 1   WILMINGTON, DELAWARE, MONDAY, JUNE 13, 2011, 1:41 P.M.

 2               THE CLERK:     Be seated, please.

 3               THE COURT:     Good afternoon, everyone.

 4               ALL:     Good afternoon, Your Honor.

 5               MR. PERNICK:     Good afternoon, Your Honor.             Norman

 6   Pernick from Cole Schotz on behalf of the debtors, Tribune

 7   Company.

 8               Your Honor, we have nine items on the agenda

 9   today.   All of them are going forward.             The parties do have

10   a suggestion for the Court and with the Court's permission,

11   they would just like to flip two of the agenda items.                Items

12   No. 3 and 4 deal with the admission of certain documents and

13   the parties would like to suggest that the noteholder plan

14   proponents document motion which is No. 4 on your amended

15   agenda go forward before No. 3 and then No. 3 go right after

16   it.   So with the Court's permission, we'll start with No. 1,

17   go to No. 2, and then 4, and then 3.

18               THE COURT:     That's fine.

19               MR. PERNICK:     Thank you, Your Honor.           Mr.

20   Sottile, I think has No. 1.

21               MR. SOTTILE:     Good afternoon, Your Honor.             James

22   Sottile of Zuckerman Spaeder, special counsel to the

23   official committee of unsecured creditors.

24               Your Honor, we're here for the first time in the

25   agenda with respect to the committees' second motion to
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 1   amend the definition of termination event in the orders that

 2   granted the committee standing to prosecute certain claims

 3   on behalf of the debtors' estates.         Your Honor, this is

 4   really a follow on to the previous motion which the Court

 5   was kind enough to grant by amending the definition of

 6   termination event such that the stay did not terminate in

 7   May when it would have originally, but rather now on June

 8   15, which is coming up in two days.         The second motion to

 9   amend seeks to extend that date to August 15.             I'll be

10   brief, Your Honor, because I know the Court has heard this

11   before.

12                The reasons for further amending the definition

13   remain the same, the confirmation hearings continue and the

14   committee and the plan proponents generally submit that it's

15   appropriate to maintain the status quo in the litigation

16   until the confirmation hearings come to a conclusion and we

17   know where these claims will reside so that whichever entity

18   ends up controlling the claims will have the ability to make

19   decisions about how to go forward with those claims without

20   being prejudiced by decisions that might be made prior to

21   that time.

22                And so for those reasons, Your Honor, we submit

23   that the Court can and should further extend the date by

24   which the stay would terminate from the current date of June

25   15 to August 15.     We have also asked the Court to consider
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 1   as a matter of administrative convenience permitting the

 2   plan proponents should they all agree on a further extension

 3   to submit a certification of counsel to the Court setting

 4   forth that extension on notice to all of the parties so that

 5   we don't have to continue making motions should further

 6   extensions be warranted.

 7                 THE COURT:   And deprive yourself of the benefit

 8   of --

 9   (Laughter)

10                 THE COURT:   -- the regular objection?

11                 MR. SOTTILE:   Your Honor, we would be pleased to

12   grant Mr. Zell a standing objection to any further

13   extensions.    We appreciate that he continues to press his

14   positions.    We're not trying to override those positions,

15   but we submit the Court really has dealt with those

16   arguments by Mr. Zell and that we don't believe it's in the

17   Court's or any of the parties interest to keep coming back

18   here on motions making the same arguments over and over

19   again while these confirmation hearings continue.              Mr. Zell

20   has noted in opposition here as he has before that, you

21   know, there is a pending separate motion with respect to

22   whether or not he should be permitted to proceed to serve a

23   Rule 9011 motion against the committee which the Court has

24   under advisement.    That doesn't go directly to the question

25   of whether or not the stay should otherwise be extended.             We
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 1   submit that it should be, Your Honor, for the reasons that

 2   I've articulated and that the Court has heard before.

 3              And with that, I would be happy to cede it to Mr.

 4   Zell's counsel, if they wish to be heard further on the

 5   matter.

 6              THE COURT:     All right, thank you.         Does anyone

 7   else wish to be heard?

 8              MR. BRADFORD:     Yes, Your Honor.         David Bradford

 9   on behalf of Mr. Zell by telephone.         We appreciate that Your

10   Honor's ruled on this matter before.          I won't belabor the

11   record by repeating those arguments.          And we do note as Mr.

12   Sottile noted that the Rule 9011 motion has not been ruled

13   on and is still under advisement.         Thank you, Your Honor.

14              THE COURT:     Thank you, Mr. Bradford.          Does anyone

15   else wish to be heard in connection with this motion?

16              MR. ZENSKY:     Good afternoon, Your Honor, for the

17   record, David Zensky, Akin, Gump, Strauss, Hauer & Feld for

18   Aurelius and the noteholder plan proponents.

19              As we did on the prior occasion, the noteholders

20   support the committees' application to extend the

21   termination date.

22              THE COURT:     All right, thank you.         Does anyone

23   else wish to be heard?

24   (No audible response.)

25              THE COURT:     I hear no further response.              Mr.
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 1   Bradford, any specific comment about the request for renewal

 2   by agreement without necessity of motion?

 3              MR. BRADFORD:     No further comment on that, Your

 4   Honor, with the understanding that as circumstances change

 5   such that we reasonably believe you might reach a different

 6   decision on this, we could always come forward with the

 7   motion to raise that.     So as a matter of convenience, we're

 8   certainly agreeable to however the Court would like to

 9   handle this.

10              THE COURT:     All right, thank you, Mr. Bradford.

11   I have ruled earlier on the like request for relief and for

12   the same reason so I am going to grant it subject to what

13   I'm about to say and we'll overrule the objection.                 I think

14   primarily the reasoning is that it does -- it is appropriate

15   for now to maintain the status quo.         I would like the order

16   to provide that extensions can't exceed 60 days.

17              MR. SOTTILE:     Certainly, Your Honor.

18              THE COURT:     And to the extent Mr. Bradford would

19   like additional language in there indicating it's without

20   prejudice for him to come back by motion before the Court,

21   I'd ask that you add that as well.

22              MR. SOTTILE:     We will confer with Mr. Bradford

23   and so provide in the order, Your Honor.

24              THE COURT:     Thank you.

25              MR. SOTTILE:     Your Honor, the second item on the
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 1   agenda for today is the motion of the DCL plan proponents to

 2   admit certain exhibits and that's followed in Items 3 and 4

 3   by similar motions on behalf of the noteholder plan

 4   proponents and Wilmington Trust Company with respect to

 5   exhibits that they wish to be admitted into evidence for all

 6   purposes.

 7                Your Honor, before we go down the path of

 8   exploring the intricacies of the market reports exception

 9   Rule 807, present sense impressions, and the like, I'd like

10   to offer the Court a modest proposal on resolution of all of

11   these disputed issues.

12                THE COURT:   Oh, please.

13   (Laughter)

14                MR. SOTTILE:   I thought it might appeal to the

15   Court.   Your Honor, in reviewing the briefs, it seems to me

16   that the parties, in fact, agree on the key issue about all

17   of these documents which is that they can and should be

18   considered by this Court for the purposes of this

19   confirmation hearing which is to canvass the legal and

20   factual issues in evaluating the merits of the settlement

21   embodied in the DCL plan and consider whether or not the

22   Martin factors and other applicable standards are satisfied.

23   I think everyone that has been heard on these motions, Your

24   Honor, agrees that the Court can and should consider the

25   documents for all of those purposes.
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 1              What we submit, Your Honor, the Court should not

 2   do is consider documents that are on their face hearsay for

 3   purposes that go beyond what you have to decide which is to

 4   canvass the issues and consider whether or not the Martin

 5   factors are satisfied.

 6              THE COURT:     Well, you know, we devoted some

 7   thought to that very point actually in connection with these

 8   motions and one of the comments that we have on this side

 9   was well I mean is it either hearsay or not hearsay?               I

10   mean, can it -- I mean, I -- it's kind of like pregnancy in

11   that respect, isn't it?

12              MR. SOTTILE:     Well, Your Honor, we have thought

13   about that point which is a little bit of a conundrum, but

14   let me suggest this pragmatic way perhaps to get through it.

15   I think that the Court could consider these documents

16   without passing on the hearsay objection for the purpose of

17   considering and deciding whether or not the settlement meets

18   the Martin factors and should be approved or not.              And I

19   don't think the Court has to decide the hearsay issue for

20   that purpose.   Various parties have submitted briefs

21   suggesting that Courts in passing on such issues can

22   consider all of the available evidence whether or not it's

23   actually at the moment present in admissible form if what

24   you're doing is not a trial on the merits, but simply a

25   canvassing of the issues which is all the Court is charged
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 1   with doing for this purpose.

 2              If the Court were, in fact, conducting a trial on

 3   the merits and you were going to decide such issues as for

 4   example whether or not parties could reasonably rely on the

 5   2007 financial projections, whether or not, in fact, there

 6   was an intentional fraudulent conveyance at step two of the

 7   transactions, then I think it's clear the Court would have

 8   to decide whether or not these documents satisfy any hearsay

 9   exceptions, whether they can be considered for the truth.

10   But, Your Honor, you don't have to decide those things in

11   order to decide the issues that are, in fact, presented to

12   you which is does this settlement meet the 9019 standards?

13              And all of us agree, Your Honor, that you can

14   consider these documents for that purpose.            Where we may

15   part company a little bit, Your Honor, with the noteholders

16   and Wilmington Trust is that the DCL plan proponents submit

17   that you should not consider these documents which are not

18   we believe admissible for the truth, given their hearsay

19   nature for the purpose of deciding things that aren't really

20   before you anyway which is the merits or the LBO related

21   causes of action to the extent that goes beyond canvassing.

22              We would submit, Your Honor, that it is neither

23   appropriate nor prudent for the Court to go down that road

24   when you haven't had a trial on the merits, when no one put

25   on the kind of case that they would put on if we were
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 1   actually trying the fraudulent conveyance actions.

 2              THE COURT:     Well some parts of the evidence came

 3   pretty close to that, wouldn't you say?

 4              MR. SOTTILE:     Sadly, I would agree with the Court

 5   that the parties in their enthusiasm to present their cases

 6   fully did perhaps go beyond the mere canvassing of issues.

 7              THE COURT:     I'm not suggesting that was

 8   inappropriate either.

 9              MR. SOTTILE:     I understand, Your Honor.

10              THE COURT:     Okay.

11              MR. SOTTILE:     In short, Your Honor, what we would

12   submit is that the Court can and should resolve every one of

13   these motions about admissibility of exhibits in this way.

14   The Court should rule on the parties agreement that all of

15   the documents may be considered for the purpose of

16   canvassing the issues and evaluating whether the DCL plan

17   settlement meets the Martin factors and any other applicable

18   standards for approval of that settlement.            The Court should

19   not, however, consider those documents as a basis for making

20   specific findings of fact on the merits of the LBO causes of

21   action which again, DCL plan proponents believe is simply

22   beyond the issues that have been presented to the Court and

23   that the Court needs to decide.

24              And, Your Honor, a final part of this proposal I

25   would suggest is prompted by the discussion we had at the
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 1   telephonic hearing last week about whether third parties

 2   ought to be heard on proposed findings.            And I think there

 3   was an argument that they should be heard, that the Court

 4   entertained because they might be prejudiced if findings of

 5   fact were made that could be used against them in later

 6   litigation.    And we would submit, Your Honor, that the

 7   appropriate way to deal with that is to simply provide in

 8   the Court's decision that any findings of fact in this case

 9   on the merits of the LBO related causes of action can't be

10   used in later litigation by any party arguing either side of

11   the merits of those issues.       And, Your Honor, we believe

12   that that would satisfy the legitimate concerns of third

13   parties that if they're not standing up and being heard,

14   they might be prejudiced down the road.

15                 With that, Your Honor, I will leave it to the

16   Court how you would like to proceed further.            If you wish to

17   hear the specifics on the DCL motion and those documents,

18   Mr. McCormack will address those points.

19                 THE COURT:   Well let's -- first, let's canvass

20   the parties.

21   (Laughter)

22                 MR. SOTTILE:   That would seem appropriate, Your

23   Honor.

24                 THE COURT:   And see how they might respond to

25   your suggestion, Mr. Sottile.
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 1               MR. SOTTILE:    Thank you, Your Honor.

 2               MR. HURLEY:    Good afternoon, Your Honor.             For the

 3   record, Mitch Hurley with Akin Gump on behalf of Aurelius.

 4               Your Honor, it sounded almost like Mr. Sottile

 5   was arguing many of the arguments that were presented in our

 6   brief a moment ago.     And I think that we do have substantial

 7   areas of agreement.     We agree that in a 9019 setting, Your

 8   Honor is basically in the same position that a District

 9   Court Judge or a Bankruptcy Court Judge is when considering

10   a preliminary injunction motion.        So that the Court's

11   function is not actually to make findings of facts and law

12   with respect to the LBO causes -- or to the causes of action

13   at issue.   Instead, what the Court is doing is based on a

14   limited record, seeking to predict what would likely happen

15   in the plenary trial, the likelihood of success.

16               And so it's clear in the Third Circuit that when

17   a Court is considering a preliminary injunction motion for

18   example, the Court is entitled to consider materials that

19   would be hearsay in another context as non-hearsay in

20   connection with making whatever determinations it needs to

21   make in order to reach its necessarily preliminary

22   conclusion on the motion for a preliminary injunction.               Very

23   similar case law in the setting of Rule 23(e) where Courts

24   are considering the fairness of a class action settlement.

25               So we agree that in the sense of formal findings
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 1   that it's not part of the Court's mandate in the canvassing

 2   of the merits to make such formal findings.             However, we --

 3               THE COURT:    So let me -- there is a meaningful

 4   difference and that is under the rules, Courts are not

 5   required to make findings and conclusions with respect to

 6   motions within adversaries as a general proposition.                So

 7   that's why in the preliminary injunction setting, the Court

 8   wouldn't have to.    But with respect to confirmation and

 9   objections to confirmation, I will need to make certain

10   findings and conclusions.         How do I fashion a ruling even if

11   the parties agree that would -- I don't know if the -- not

12   necessarily bring clarity, but prevent confusion assuming

13   some other Court might yet be asked to opine on the same

14   issues at some future date so that it's clear to the

15   Appellate Court what I did or didn't do.

16               MR. HURLEY:    Well certainly Aurelius agrees that

17   the Court has to make findings in connection with this

18   motion.   What we're arguing is that those findings don't

19   include final determinations as to issues of law and fact

20   that go to the merits of the LBO claims.            In other words,

21   you're not actually determining the LBO claims.              You are

22   assessing the likelihood that they would succeed and then

23   making a finding based on the other Martin factors about

24   whether or not the plan can be confirmed.

25               THE COURT:    Assuming I reach that issue.
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                                                                         22


 1              MR. HURLEY:     So I think we have more or less the

 2   same view as long as it's clear that what we're arguing is

 3   that in connection with your canvassing, you can certainly

 4   review the contents of these documents we're talking about

 5   in order to make your assessment about whether a fact is

 6   more or less likely or a conclusion of law is more or less

 7   likely in connection with the plenary trial.

 8              So in that sense, we think the contents are

 9   certainly available to you, but because the exercise you're

10   undertaking is different than a full trial on the merits, we

11   think you can review the documents.          And I think we're

12   saying the same thing, but it wasn't crystal clear to me

13   from the exchange of papers on that issue.

14              I should make one point in addition which is that

15   we view the documents that have been offered by the DCL plan

16   proponents as categorically different than the documents

17   offered by the noteholder plan proponents in that the three

18   documents that are at issue on the DCL plan proponents

19   motion all go to process issues.         They don't go to the

20   canvassing of the merits.         These are not documents that

21   would be admissible in a plenary trial of the LBO claims,

22   they're documents that go to the other Martin factors.

23              Now with respect to those other Martin factors,

24   it's our view that since this Court is the only trial Court

25   that will ever reach those issues, that the Court is
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 1   actually making findings with respect to those issues and

 2   the federal rules of evidence should be applied accordingly.

 3   We have not objected to introduction of those three

 4   documents for purposes other than the truth of the matter

 5   asserted, but for purposes of their truth, we think that it

 6   would be inconsistent not only with the federal rules,

 7   really with fairness particularly in connection with the

 8   mediation statement.       They're trying to offer it for I guess

 9   the truth of an isolated statement within the mediator's

10   report concerning the negotiations.         And we think it would

11   be unfair particularly because we didn't have a chance to

12   take any discovery or present any other evidence on that

13   point.

14                 THE COURT:    Well and I addressed this issue early

15   on in this case.     You might not have been present during

16   those discussions, but I told the gathered before and I

17   haven't changed my mind that I'm not going to give

18   evidentiary weight to what the mediator said for all kinds

19   of reasons.    You know, the -- and I think the way I said it

20   was that, you know, with respect to good faith or other

21   issues, the plans will pass or fail based upon what I heard

22   here.    So I hear that the parties are continuing to fence

23   about it, but from my standpoint, I'm not sure why.

24                 MR. HURLEY:    Thank you, Your Honor.        And just

25   sort of a final point your question of basically are what's
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 1   our view of whether we can reach an agreement.             It sounds

 2   like it's possible, we just have to make sure we understand

 3   what the details of it are.

 4                 THE COURT:    And I'll hear from everyone and I'll

 5   give you some time to talk out of my presence but, thank

 6   you, Mr. Hurley.

 7                 MR. SIEGEL:   Good afternoon, Your Honor.            Martin

 8   Siegel from Brown Rudnick on behalf of Wilmington Trust.

 9                 We, too, join with the noteholders in saying we

10   may be able to reach an agreement because this is not a

11   trial -- at least with respect to the reasonableness of the

12   settlement.    There are things as to which you are

13   determining on the merits because you're the Trial Court

14   when you get to the plan issues, but at least with the

15   issues as to whether or not the settlement is reasonable,

16   we've been through the contours motions and a number of

17   other motions and it's clear that your function is I think

18   you phrase it canvass the issues, plus, but it's not to hold

19   a trial on the merits.

20                 And at least from our standpoint, we're not

21   looking to have your findings that you may make in

22   connection with the merits of the settlement, this

23   canvassing the issue binding in some other proceeding

24   because it may be a different standard.            We're seeking to

25   have you review and look at all of the -- and consider all
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 1   of the documents that were cited in Wilmington Trust's post

 2   trial brief.   I think those are the issues that are at stake

 3   now.

 4               And I'll just use one example from my standpoint

 5   of what we're talking about and hopefully nobody objects to

 6   using this as an example.         I don't -- it's the clearest

 7   example.   There is I think Noteholder Exhibit 1232 cited by

 8   the noteholder plan proponents and we cited the same

 9   document as No. 254.     And in that document, a representative

10   of one of the banks says I am very concerned.              And I'm using

11   that as a clear example of the way I think this should work.

12   And I think the problem is the cases generally don't come up

13   in this context, they come up in different contexts.                And

14   when we talk about what is admissible for all purposes or

15   what does admissible for the truth of the matter stated in

16   the context of a contours hearing, there really hasn't been

17   any cases that talk about that in this context.              But I look

18   at it as your function is the sort of accepted face value of

19   the statement.

20               So when you're considering whatever context that

21   document comes up in in our case, we argue that if someone

22   was concerned, why did they go forward with the deal anyway?

23   They sort of accept it face value that the person making

24   that statement was concerned instead of just she said it and

25   I can't consider whether that statement was true or not.                  So
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 1   when that's the context that I look, I think the stipulation

 2   by the DCL and the noteholders is the documents that are

 3   being offered on both sides in a canvassing the issue is you

 4   can accept them at face value for purposes of making your

 5   determination.

 6              And I think that solves the problem of whether

 7   they're being offered for the truth or for all purposes.                As

 8   long as you can consider the statements in the documents, I

 9   think everybody is satisfied and we're not seeking to have

10   those documents used for any other purpose.            We're seeking

11   to have -- and all sides agree that you can use them.              So

12   it's only when you're trying to define, you know, how it is

13   that you're using them and, therefore, I offer my suggestion

14   if you can accept the statements and the documents dealing

15   with the merits of the claim.       That also gets rid of the

16   process issue.   At face value, I think that satisfies

17   everybody's concern.     Thank you.

18              THE COURT:     Thank you.

19              MR. SOTTILE:     Your Honor, I think we may be in

20   the process of reaching a vigorous agreement.             And it might

21   be helpful to the parties if this were an appropriate

22   juncture to take a brief break and see if we could

23   articulate a common position on this issue for the Court to

24   consider as a resolution of those disputed motions.

25              THE COURT:     I will do that, but let me first ask
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 1   if anyone else wishes to be heard before we break.

 2               MS. PARVER:    Thank you, Your Honor.          It's Jane

 3   Parver for Kaye Scholer for Merrill Lynch.

 4               We're not a plan proponent, Your Honor.                And we

 5   haven't been involved in these discussions and we don't

 6   agree to the proposal, Your Honor.         As set forth in our

 7   objection, we are -- we have found no case law and the

 8   noteholders have cited none for the proposition that once

 9   the Court determined to hold an evidentiary hearing in

10   connection with ruling on the reasonableness of the

11   settlement, that Rule 9019 somehow in the context of the

12   evidentiary hearing now permits the admission of exhibits

13   into evidence without compliance with the federal rules of

14   evidence.

15               The Court presided over a very lengthy

16   evidentiary hearing after -- and during the course of the

17   hearing you were asked to rule on and you did rule on

18   numerous, numerous evidentiary objections, Your Honor.                We

19   don't understand and we don't agree with the notion that now

20   everybody should just change course and basically throw the

21   rules out of the window.

22               Merrill Lynch is not only not a plan proponent,

23   it's a defendant in three adversary proceedings before the

24   Court and it's been named as a Defendant in lawsuits brought

25   by the noteholders and others.        There's a lot of potential
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 1   for admission -- for mischief here, Your Honor.             The

 2   noteholders deliberately chose to cancel the depositions

 3   that they had scheduled of Merrill Lynch witnesses and they

 4   chose not to develop any foundation for the admission of

 5   Merrill Lynch exhibits.     They didn't -- even Your Honor's

 6   discovery and scheduling orders specifically permitted them

 7   to go via request to admit if there were any questions about

 8   admissibility, they didn't pursue any of those.

 9                THE COURT:    It's rare that I hear a lawyer

10   complain that their client wasn't deposed.

11   (Laughter)

12                MS. PARVER:   For this purpose, Your Honor, what

13   we do object to having been sued by the noteholders and

14   other is the potential.     I know everybody's saying well,

15   Your Honor is going to put something in whatever Your Honor

16   writes that I only did this for the purpose of looking at

17   this.   Your Honor, that really unfairly shifts the burden to

18   Merrill Lynch to go to try to explain to some State Court

19   Judge or others well there's this proceeding called 9019 and

20   under this it's certain circumstance, even though the Judge

21   said it was admitting the exhibit into evidence, he really

22   didn't mean it.

23                THE COURT:    Look, you know, I had a hearing this

24   morning on not an issue that is related to this but, you

25   know, there was some discussion about whether a State Court
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 1   Judge would understand what would be going on.             I, frankly,

 2   those arguments really don't gain much purchase with me

 3   because, you know, Judges even if they're unfamiliar with an

 4   area, are to be educated by the lawyers.           And I don't think

 5   necessarily that puts a burden on anybody.            Now I don't want

 6   to get into a debate about okay this is a specialized Court

 7   others might be, but as a general proposition, you know,

 8   other Courts understand lots of different things.

 9               MS. PARVER:    I don't disagree with Your Honor,

10   I'm just saying it's burden shifting because the plaintiffs

11   are highly likely in all of the cases in which they've named

12   Merrill Lynch to come in and say the Court admitted them, it

13   has the stamp of approval and they should be going in here.

14   What I'm not quite certain of Your Honor is why anything

15   needs to be admitted into evidence.         And that's the concern

16   that we have without compliance with the federal rules of

17   evidence.

18               THE COURT:    Well you would agree if you took it

19   in its simplest form if there were just a two party dispute,

20   they could agree to admit anything.         So I mean, the Court

21   would accept it, couldn't they?

22               MS. PARVER:    They could agree what, Your Honor?

23               THE COURT:    To admit anything into evidence even

24   if over and objection it was not admissible.            Isn't that

25   correct?
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 1              MS. PARVER:     I agree with you, Your Honor.

 2              THE COURT:     Okay.

 3              MS. PARVER:     But it's the effect on third parties

 4   here.

 5              THE COURT:     Well --

 6              MS. PARVER:     That obviously is our concern.

 7              THE COURT:     -- the precedent effect anyway.            All

 8   right, I hear your argument.

 9              MS. PARVER:     Thank you.

10              THE COURT:     Thank you.

11              MS. SAAVEDRA:     Good afternoon, Your Honor.

12   Andrea Saavedra with Weil Gotshal & Manges.            We represent

13   Morgan Stanley and Morgan Stanley Capital Services.

14              There are several Morgan Stanley documents that

15   the noteholders are submitting as evidence for the truth of

16   the matter in connection with the confirmation.             As the

17   Court is aware, Morgan Stanley is not a plan proponent or a

18   party to these confirmation proceedings.           It is, however, a

19   defendant in certain adversary proceedings in state law

20   actions which are presently stated as articulated by the

21   Merrill Lynch counselor.     For the record, Morgan Stanley

22   simply seeks to reserve the right to object to the

23   admissibility of these documents in those adversary

24   proceedings and state law actions, as well as, any other

25   future litigations.
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 1                 I think that Mr. Sottile's proposal regarding a

 2   statement in any finding of fact or conclusion of law would

 3   ameliorate certain of our concerns and we're willing to

 4   discuss that at a break.

 5                 THE COURT:    Thank you.

 6                 MR. HURLEY:   Your Honor, if I could just respond

 7   very briefly to what counsel for Merrill Lynch has said.

 8   And again, for the record, it's Mitch Hurley with Akin Gump.

 9                 First, I think, Your Honor, there's a real

10   question about whether or not Merrill has any standing to

11   raise an objection at this point.         There was a case

12   management order entered into the case.            Merrill was a party

13   to the case management order.       It was specifically defined

14   as a party.    The case management order set a deadline for

15   all parties, not just proponent parties, but all parties to

16   make objections to trial exhibits.         That date was early

17   March.   The date came and the noteholder plan proponents and

18   the DCL plan proponents asserted objections.            There were no

19   other objections by mail or anybody else and we submit that

20   because they didn't assert their objections by the deadline,

21   to the extent they had any right to assert objections, that

22   right has been waived.

23                 One other point, I won't respond to the substance

24   of what counsel for Merrill just presented, but one other

25   point.   On the issue they seem to be concerned about which I
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 1   guess is kind of like a collateral estoppel issue, I think

 2   the case law is actually very clear that in a context of a

 3   preliminary proceeding, certainly in the context of a

 4   preliminary injunction, that determinations made in that

 5   preliminary proceeding are not -- do not have any collateral

 6   effect.   I think that's very clear in the Third Circuit and

 7   I have a number of Third Circuit cases I'm happy to cite for

 8   Your Honor now or in the later part of the presentation.

 9                 THE COURT:    No, I hear you.        I understand the

10   sensitivity.    So many parties here walking around with a

11   target on their back that I can understand their concern.

12   All right --

13                 MS. PARVER:    Your Honor, could I just correct the

14   record on one thing?       Merrill Lynch did file a joinder to

15   objections.    It's on the record, Your Honor.

16                 THE COURT:    All right, thank you.        How much time

17   do you think you'll need, Mr. Sottile?

18                 MR. SOTTILE:    Your Honor, I think ten to fifteen

19   minutes, fifteen minutes to be safe, Your Honor, if that

20   would be acceptable to the Court.

21                 THE COURT:    We'll reconvene at 2:30.

22                 MR. SOTTILE:    Thank you, Your Honor.

23                 THE COURT:    Court will stand in recess.

24   (Recess from 2:11 p.m. to 3:48 p.m.)

25                 THE CLERK:    All rise.   Be seated, please.
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 1                THE COURT:   Okay, Mr. Sottile, do we have white

 2   smoke or not?

 3   (Laughter)

 4                MR. SOTTILE:   Your Honor, we do have white smoke

 5   albeit far delayed beyond what I had far too boldly

 6   estimated for the Court.

 7                THE COURT:   I noticed that.

 8   (Laughter)

 9                MR. SOTTILE:   We thought that it would not have

10   escaped the Court's attention and apologize for the delay.

11   The only mitigating factor is that it did, in fact, produce

12   agreement among the plan proponents which I would now like

13   to read into the record for the Court, obviously subject to

14   the Court's approval.

15                Your Honor, the plan proponents would agree to

16   the following with respect to the disputed exhibits that are

17   the subject of the three motions at issue brought by the DCL

18   plan proponents, Wilmington Trust, and the noteholders.            And

19   there's a couple of exceptions from those disputed exhibits

20   that I'll touch on in a moment.        With respect to the

21   disputed exhibits, the plan proponents agree that they are

22   admissible into evidence and may be considered by the Court

23   for the purpose of canvassing the legal and factual issues

24   and to evaluate whether the DCL plan settlement is

25   reasonable and satisfies the Martin factors and any other
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 1   applicable confirmation or settlement standards.             And may be

 2   relied upon by the Court in making findings as to whether or

 3   not the settlement is reasonable and satisfies the Martin

 4   factors and any other applicable confirmation or settlement

 5   standards including in connection with the Court's

 6   consideration of the Martin factor bearing on the

 7   probability of success of the LBO claims that are the

 8   subject of the DCL plan settlement.

 9                However, the disputed exhibits may not be used to

10   support specific findings of fact that go beyond whether the

11   DCL plan settlement is reasonable and satisfies the Martin

12   factors in any other applicable confirmation and settlement

13   standards.   The stipulation does not affect any other

14   documents that have previously been admitted into evidence

15   or are admitted now pursuant to the evidentiary order and

16   does not affect the admissibility of the disputed exhibits

17   to the extent they're admissible pursuant to the Court's May

18   6 evidentiary order dealing with among other things,

19   statements by plan proponents as admissions.

20                Your Honor, I indicated there are a couple of

21   documents that were the subject of the motions that are not

22   encompassed within the agreement I've just described and let

23   me tell you what those are.       DCL Exhibits 3 through 85 are

24   minutes of committee meetings.        And as the Court may have

25   noted from the papers, there is agreement to the
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 1   admissibility of those documents for the limited purpose

 2   that is described in Footnote 2, I believe to the

 3   noteholders' reply.

 4                In addition, Your Honor, there was some

 5   discussion before we broke about the admissibility for the

 6   truth of the mediator's report, a mediator's report which is

 7   DCL Exhibit 384.     The DCL plan proponents would withdraw

 8   their motion for admissibility of that document for the

 9   truth.    It would remain admissible for other purposes

10   pursuant to the Court's May 6, 2011 order dealing with use

11   of exhibits and deposition designations at the trial of this

12   matter.    With respect to that order, Your Honor, the May 6,

13   2011 order, this agreement of the parties would not affect

14   the provisions of that order.        The would remain in effect.

15                Your Honor, that would complete the agreement of

16   the parties with respect to the disputed exhibits that I've

17   just described.      The parties have also reached an agreement

18   with respect to the lack of effect of this Court's findings

19   and conclusions in this matter and any other matter and let

20   me read that into the Court for the Court's -- read that

21   into the record for the Court's consideration.

22                THE COURT:    Okay.

23                MR. SOTTILE:    The plan proponents would agree as

24   follows.   Any findings of fact or conclusions of law that

25   the Court makes with respect to the merits of the LBO
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 1   related causes of action may not be used for any purposes in

 2   any other action including without limitation as a basis for

 3   application of the doctrines of res judicata and collateral

 4   estoppel.

 5               Your Honor, that sets forth the agreement of the

 6   plan proponents both with respect to the exhibits that were

 7   at issue and remained at issue on those three motions that

 8   I've described, as well as, our agreement that the findings

 9   and conclusions in this matter subject to the Court's

10   approval would not be useable in other proceedings to the

11   extent they relate to the merits of the LBO causes of

12   action.

13               THE COURT:    All right.      Let me ask this.         May it

14   be that this was included in the agreement, but so that I'm

15   clear, Mr. Sottile, with respect to the previously disputed

16   documents and the parties agreement that the Court can use

17   them in canvassing, can these documents be used for non-

18   hearsay purposes for any other reason?

19               MR. SOTTILE:    No is the short answer, Your Honor.

20               THE COURT:    Okay.

21               MR. SOTTILE:    They can be used -- I'm sorry, for

22   non-hearsay purposes?

23               THE COURT:    Yes.

24               MR. SOTTILE:    The answer to that is yes, I'm

25   sorry, Your Honor --
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 1               THE COURT:     Okay.

 2               MR. SOTTILE:    -- I misunderstood the question.

 3               THE COURT:     That's okay.      That was my only

 4   question.   So am I to take it that the last of the

 5   agreements read resolved the Merrill Lynch objection or does

 6   Merrill Lynch still object?

 7               MR. SOTTILE:    Your Honor, we've had some

 8   discussions with Merrill Lynch's counsel about that, but I

 9   think that I should leave them to speak for themselves as to

10   whether or not that agreement satisfies their concerns.

11               THE COURT:     Okay.

12               MS. PARVER:    Sorry, Your Honor.          No fault of Mr.

13   Sottile, but we haven't been able to really read anything,

14   Your Honor, or discuss anything because I think until a few

15   minutes before the plan proponents came back into the Court,

16   they were still negotiating and awaiting decision so we

17   really have not had a chance to digest except for what you

18   heard.   One thing so --

19               THE COURT:     Well the concept is not a difficult

20   thing and so let me -- let's start --

21               MS. PARVER:    It's all in the details, Your Honor.

22               THE COURT:     So let's start at 30,000 feet and let

23   me ask is the concept acceptable to Merrill Lynch?

24               MS. PARVER:    The concept, the overall concept I

25   think would be, Your Honor, but the details are important.
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 1   For example, Your Honor, and this just came and maybe I

 2   didn't take it down correctly, but it says any findings of

 3   fact, conclusions of law that the Court makes on the merits

 4   of the LBO can't be used for any purpose in any other

 5   proceeding.    That stops short of saying any findings of

 6   fact, conclusions of law can't be used for any purpose in

 7   any proceeding without limited to merits of the LBO

 8   transaction.

 9                 THE COURT:    Well isn't it --

10                 MS. PARVER:   To the extent the Court is relying

11   on these disputed exhibits.

12                 THE COURT:    Isn't it the case though that either

13   collateral estoppel or res judicata and I don't use the

14   Third Circuit terms, but we'll just use them for now,

15   couldn't be applicable unless there were a determination on

16   the merits?    And I think built into the agreement that was

17   read is that because there would be no determination on the

18   merits, those principles would not be applicable in any

19   subsequent litigation?

20                 MS. PARVER:   I agree, Your Honor.

21                 THE COURT:    Okay.

22                 MS. PARVER:   If it's so worded.          I assume we're

23   talking -- of course the Third Circuit has different

24   terminology, but there's also -- I mean, there's collateral

25   estoppel and also law of the case, as well as, res judicata,
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 1   Your Honor.

 2                 THE COURT:    Well if it were in another Court --

 3                 MS. PARVER:   I know, but we will be in adversary

 4   proceedings and we wouldn't --

 5                 THE COURT:    Okay.    Well it seems to me that --

 6   well and Third Circuit Law that says records made in the

 7   main case don't automatically get imported into adversary

 8   proceedings.    So in this circuit, I think you're okay.              But

 9   look, I understand your point that the language may -- it's

10   going to have to be memorialized and you'll have input into

11   that obviously.

12                 MS. PARVER:   We hope, Your Honor.

13                 THE COURT:    Okay.

14                 MS. PARVER:   Thank you.

15                 THE COURT:    Thank you.      Anyone else wish to be

16   heard?

17                 MR. HURLEY:   Thank you, Your Honor.            Mitch Hurley

18   again for Aurelius.

19                 We agree with the stipulation and it was read

20   correctly into the record.        I just wanted to make two points

21   of clarification.

22                 First, with respect to the stipulation relating

23   to collateral estoppel, we want to make clear that the

24   findings of fact, conclusions of law of course we stipulated

25   can't be used in any other proceeding.               On the other hand,
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 1   evidence adduced in connection with this proceeding, trial

 2   testimony for example, transcripts of depositions, we don't

 3   think this stipulation has any affect on our ability to use

 4   those kinds of materials.         In other proceeding, it may be

 5   that we would have an argument in other proceeding about the

 6   extent to which we can use those kinds of materials, but we

 7   just want to make clear this stipulation wouldn't cover

 8   those sorts of materials.

 9               The second point of clarification is simply

10   there's a reference to the fact that there were some

11   materials that were considered admissions already under the

12   Court's May 6 order that were the subject of our motion.

13   And they were only the subject of our motion because they

14   were a dispute, not about whether they were admissible for

15   the truth of the matter asserted, but only about who they

16   could be admitted against.        And so the language at the

17   conclusion of the stipulation was in part designed to make

18   clear that the stipulation doesn't make those admissions of

19   the DCL plan proponents any less admissible then they were

20   before we entered into the stipulation.

21               THE COURT:    In other words, it doesn't change

22   anything?

23               MR. HURLEY:    Correct.

24               THE COURT:    All right.

25               MR. HURLEY:    Thank you, Your Honor.
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 1                THE COURT:    Anyone else wish to be heard?             Okay.

 2                MS. SAAVEDRA:    Good afternoon, again, Your Honor.

 3   Andrea Saavedra of Weil Gotshal for Morgan Stanley.

 4                I just want to thank the parties for including us

 5   in discussion.   We would just request also the ability to

 6   look at the order before it's presented on certification of

 7   order.   Thank you.

 8                THE COURT:    I'm sure your hands will be among

 9   them.

10   (Laughter)

11                MS. SAAVEDRA:    Thank you.

12                THE COURT:    Okay.     Does anyone else wish to be

13   heard in connection with these three motions?

14   (No audible response.)

15                THE COURT:    I hear no further response.              Okay.

16   Mr. Sottile, I suppose you'll continue the process of

17   drilling down on language.         I'll ask that an order, proposed

18   order be submitted under certification.             To the extent the

19   parties heaven forbid reach an impasse, please reach out to

20   me by conference telephone.

21   (Laughter)

22                MR. SOTTILE:    We will do so, Your Honor, thank

23   you.

24                THE COURT:    Okay.     Thank you.      What's next?

25   Okay.    There were seal motions filed --
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 1              MR. SEIGEL:     Those are the next topics, Your

 2   Honor.

 3              THE COURT:     Okay.

 4              MR. SEIGEL:     Martin Siegel from Brown Rudnick on

 5   behalf of Wilmington Trust.

 6              And I think that there's a similar type of status

 7   conference brought by the noteholder plan proponents.              And

 8   to a limited degree, I think this also affects the DCL plan

 9   proponents because in their last motion, they also redacted

10   certain documents and had to file a CO motion.

11              Your Honor, back on May 17, a hearing I didn't

12   attend, but one of my colleagues did, both the noteholder

13   plan proponents and Wilmington Trust advised the Court that

14   although they were required to redact certain materials from

15   the post trial briefs filed on May 11, they had notified all

16   parties whose documents were redacted to see if anybody

17   objected and nobody objected.       So you directed that those

18   documents could be filed without redaction.

19              Unfortunately, nobody thought that the same issue

20   would come up in subsequent briefs.         And so in the findings

21   of fact because that statement at the May 17 hearing was

22   only applicable to one certain document, when we filed the

23   findings of fact, we had to again redact something because

24   way back at the beginning of the case somebody had said

25   those documents were confidential.
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 1              And the same thing occurred in these evidence

 2   motions where just because of what we perceived as

 3   historical fact, somebody had once claimed confidentiality

 4   and even though we didn't think that they were still

 5   asserting it, we found ourselves compelled to both file a

 6   redacted version and make a motion to seal.             At least from

 7   Wilmington Trust's standpoint, there were no documents in

 8   either the findings of fact or in the evidence motions that

 9   were not also in the post trial brief.             In fact, at least

10   with the evidence motion, that only dealt -- the stipulation

11   of the parties was that the evidence motion only dealt with

12   documents that had been cited in the post trial brief.

13              But nevertheless, we felt compelled to file

14   motions to seal which not only brought more matters to the

15   Court's attention.    We did also send notices both with our

16   findings of fact or the day after and with the evidence

17   motion again alerting parties that we were going to raise

18   this issue with the Court and asking anybody whether they

19   had any objection to not having redactions and if so please

20   tell us and or if you wanted to keep the redactions, please

21   tell us and why and we heard from nobody.

22              So I guess the status report is to ask the Court

23   how we should -- how you want to handle them.              We think that

24   the redactions could be removed from those documents and we

25   don't need the motions to seal, but because of the
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 1   historical issues, we thought we had to bring it to the

 2   Court's attention.

 3               THE COURT:    Okay.    Now there are a number of

 4   motions scheduled for hearing on the 28th with objection

 5   deadlines of June 21.     Are what you've discussed today and

 6   what -- are the subject of those motions now scheduled for

 7   the 28th mirror images or are there different issues raised?

 8               MR. SEIGEL:    With regard to the seal motions?

 9               THE COURT:    Yes.

10               MR. SEIGEL:    I think they're the same issues.

11               THE COURT:    Okay.

12               MR. SEIGEL:    Except, I'm not sure about the DCL.

13   I don't know if you notified people.          There was a couple of

14   things you redacted from the evidence motion.             I'm not sure

15   whether those are the same documents or there is anything

16   else.

17               MR. BENDERNAGEL:      Your Honor, I think -- Jim

18   Bendernagel for the debtors.

19               I think there's one category that's left that has

20   actually been filed under seal and needs to remain under

21   seal.   And that is there are certain documents that have

22   been filed by the noteholders in connection with the FCC.

23   And the FCC stuff, there's agreement that there will be

24   redactions and that those will be filed under seal.                As I

25   understood it, there was sort of a two step process here.
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 1   One, in an abundance of caution, the noteholders and

 2   Wilmington Trust filed documents under seal in a pretty

 3   extensive way and so did we in connection with these motions

 4   and asked people to confirm essentially that they agreed

 5   that there was nothing really that had to be redacted.             And

 6   I think the purpose of this status conference today was to

 7   determine whether, in fact, there was anything that needed

 8   to be redacted beyond what everybody concedes should be

 9   redacted which is the FCC stuff.        The best of my knowledge,

10   there's nothing other than the FCC stuff that needs to be

11   redacted.   The only concern the debtors have ever had was

12   highly confidential business material or material relating

13   to these joint ventures that's in.         None of that material is

14   disclosed in any of the filings, so it's not problematic

15   requiring redaction.

16               So I think the only thing that needs to be filed

17   under seal and for which the motions need to go forward on

18   June 28 would be the motions that relate to the noteholders'

19   filings of the FCC.     I think in -- with respect to

20   everything else, unless people have come in and objected,

21   the sense is that those probably can be filed publically

22   without the need for any motion to seal.           I think that's

23   where are and that's my understanding.

24               MR. SEIGEL:    And my remarks about at least the

25   Wilmington Trust documents were related to those briefs, not
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 1   to the FCC materials, but Mr. Zensky will speak to that.

 2               MR. ZENSKY:    Good afternoon, Your Honor.             David

 3   Zensky, Akin, Gump, Strauss, Hauer & Feld.

 4               I agree with Mr. Bendernagel's description of the

 5   status on the findings of fact, conclusions of law.                This is

 6   Item 6 on today's agenda that Mr. Bendernagel alluded to.

 7   We did put our findings of fact and conclusions of law under

 8   seal at an abundance of caution, followed the same process,

 9   put everyone on notice that after today we intended to file

10   them unsealed.   Putting the FCC to the side, there are no

11   redactions in the main noteholder findings of fact,

12   conclusions of law so we have had no objections and we will

13   be unsealing them.    We had a question from counsel to Morgan

14   Stanley.   We discussed it with them and they're not

15   objecting at this point as I understand it.            Counsel for the

16   noteholders on FCC issues is on the phone, I believe if Your

17   Honor has any questions about the status of that with

18   respect to the motion to seal that Mr. Bendernagel alluded

19   to the parties agree is appropriate.          And I won't be

20   speaking to that issue.     But on the main documents, we're

21   going to go ahead and unseal them at this point.

22               THE COURT:    All right, thank you.         Does anyone

23   else wish to be heard in connection with unresolved

24   redaction disputes?

25   (No audible response.)
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 1               THE COURT:    Okay.    Well it seems to me then that

 2   no one is asking for the Court to enter any orders today

 3   with respect to those matters.        And since no one's pressing

 4   a seal motion, the consequences follow.            To the extent I

 5   would say that the objection deadline passes with respect to

 6   the motions scheduled for June 28, if there are no

 7   objections, I would consider ordering relief under

 8   certification.   But to the extent there are open items FCC

 9   or otherwise, I'll consider them at that hearing.

10               Okay.    Is there anything else we need to talk

11   about today?

12               MR. SOTTILE:    Your Honor, I would just like to

13   report an agreement among the plan proponents with respect

14   to the structure of closing argument subject to the Court's

15   approval.

16               Your Honor, the DCL plan proponents and

17   noteholder plan proponents would agree as follows assuming

18   the Court finds this approach satisfactory.            A total of five

19   hours would be set aside to be split evenly between the two

20   groups of plan proponents so that each side would be

21   allotted a maximum of two and a half hours of argument time

22   of which each side could in its discretion reserve up to one

23   hour for rebuttal purposes.       And, Your Honor, that would

24   encompass the agreement among the parties about the total

25   amount of time that the two sides would have available if
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 1   they chose to use it and how much of it could be set aside

 2   for rebuttal subject obviously to the Court's views and

 3   approval of that agreement.

 4              THE COURT:      Has it been agreed who is to go

 5   first?

 6              MR. SOTTILE:      Your Honor, it has.         The DCL plan

 7   proponents would go first.

 8              THE COURT:      Okay.    Now at the outset of the

 9   hearing, Mr. Sottile, you made a reference to part of the

10   indication that I had made during our last telephone

11   conference when a couple parties stuck up their virtual

12   hands and said we wanted to make additional written

13   submissions, and I said no, I've got enough thank you very

14   much, but allowed as they might have some time in argument.

15   Your suggestion was that so long as nothing that the Court

16   would order would, just to be colloquial about it, tie their

17   hands later on.      You thought that we should forgo this, but

18   I think my indication -- my inclination is to stick with

19   that to which I had agreed.        But my thought was that I'd

20   hear just, only very briefly, from those parties if they

21   wished to be heard.      Although, I guess, as I think through

22   the issue, you know, once a party engages the Court, you

23   know, maybe there are consequences that follow from that,

24   but I'll leave that to the other parties to ponder between

25   now and closing.
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 1               MR. SOTTILE:    Your Honor, understood.            We made

 2   the suggestion because as we understood the argument that

 3   was made on the telephone, the concern was that their hands

 4   might get tied later, and we think that we've addressed that

 5   concern and, therefore, that it should be unnecessary for

 6   those parties to be heard at closing.

 7               THE COURT:    Well if, after further discussion

 8   with them outside of my presence, the request still stands,

 9   let me know.

10               MR. SOTTILE:    We will do so, Your Honor.

11               THE COURT:    Okay.

12               MR. ZENSKY:    I'm sorry, Your Honor, for the

13   sidebar.   Just following up on Mr. Sottile's report on our

14   agreement respecting closing argument.             From my perspective,

15   and I think Mr. Sottile agrees, but while we're here I just

16   want to make sure there's no ambiguity, when we agreed that

17   each side could reserve up to an hour for what Mr. Sottile

18   termed rebuttal, I didn't take that, and I don't think it

19   was being used in the strict sense that, that second hour

20   can only be used to rebut precisely what the other side said

21   during its prior part of the argument and we're going to get

22   in a debate --

23               THE COURT:    It will be yours to use as you wish.

24               MR. ZENSKY:    That's how I understood it and I

25   wanted to make sure --
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 1                THE COURT:                All right.

 2                MR. ZENSKY:                  -- that's how the Court took it.

 3                MR. SOTTILE:                    Your Honor, one moment, if I may.

 4   Your Honor, we're in agreement with Mr. Zensky about the

 5   scope of rebuttal that can be used by the parties as they

 6   deem most appropriate for the Court.

 7                THE COURT:                All right.               Is there anything further

 8   for today?

 9   (No audible response.)

10                THE COURT:                Thank you all very much.                   That

11   concludes this hearing.                      Court will stand adjourned.

12   (Whereupon, at 4:13 p.m., the hearing was adjourned.)

13

14                                            CERTIFICATION

15                I certify that the foregoing is a correct

16   transcript from the electronic sound recording of the

17   proceedings in the above-entitled matter.

18

19                    Digitally signed by Traci Calaman
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20                    Date: 2011.06.14 15:28:12 -04'00'                         13 June 2011

21   Traci L. Calaman, Transcriber                                                 Date
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